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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION"N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGEROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 11
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 In re: FEMA TRAILER                        *       CIVIL ACTION 2:07-MD-1873
 FORMALDEHYDE PRODUCTS
¯ LIABILITY LITIGATION
                                                    JUDGE ENGLEHARDT -DIV. N

                                                    MAGISTRATE ROBY - MAG. 4


                       DECLARATION OF STEPHEN C. MILLER

       I, Stephen C. Miller state and declare as follows:

       1.     I am employed by the Federal Emergency Management Agency (FEMA), a

component agency of the Department of Homeland Security (DHS), as a Contracting Officer

Technical Representative. During the response to hurricanes Katrina and Rita I served as the

Inventory Supervisor, FEMA HQ Logistics Emergency Housing Unit. As the Inventory

Supervisor I was responsible for directing the movement of all temporary Emergency Housing

Units (EHUs) from the original point of procurement to the physical site where the units would

be received by FEMA. In addition, I was also responsible for the transfer of EHUs between

storage facilities throughout the impacted area. Further, I was responsible for ensuring that

facilities were notified when EHUs would be delivered to their site and in my position as

Inventory Supervisor I am familiar with the receiving and inspection process that took place at

these facilities upon receipt of a new EHU from a vendor and/or manufacturer, and issuance of

an EHU to an installation contractor.

       2.      Soon after Hurricane Katrina struck, the decision was made to identify and

purchase EHUs as quickly as possible and on an unprecedented scale for purposes of providing

emergency temporary housing assistance to Hurricane Katrina disaster victims. For purposes of
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receiving new EHUs from vendor and/or contractors and processing and issuing the EHUs to

disaster victims, FEMA set up storage sites in the Gulf Coast,region.

       3.      I am familiar with the document assigned identification numbers FEMA09-00073

to FEMA09-00074 that is Exhibit A to this declaration. This two-page document is a FEMA

Standard Form 90-13, Temporary Housing Unit Inspection Report. FEMA Standard Form 90-13

outlines and provides guidelines that FEMA representatives used to inspect EHUs to determine

and ascertain (i) whether or not to accept or reject new EHUs delivered by vendors and/or

manufacturers to storage sites, (ii) whether or not to accept or reject refurbished EHUs; (iii) the

condition of EHU issued to a FEMA contractor that installed the unit for disaster victims, and

(iv) the condition of the unit after the disaster victim vacated the unit.

       4.      Vendors and/or contractors delivered new EHUs to the storage sites in the Gulf

Coast region. Prior to taking possession, custody, and ownership, a FEMA representative

conducted a walk through inspection of the EHU. Consistent with Standard Form 90-13,

Temporary Housing Inspection Report, the FEMA representative inspected the EHU to ensure

that the unit was new, contained contracted for amenities, i.e., basic appliances, furniture, and

that it had not been damaged in transit. In the event a unit failed this inspection, FEMA required

the vendor and/or manufacturer to make the necessary repairs and/or modifications prior to its

acceptance of the unit. There are no FEMA rules or regulations that I am aware of that required

FEMA to test EHUs to determine indoor ambient residential formaldehyde levels, either as a

condition for acceptance of new EHUs from a vendor and/or manufacturer, or as a requirement

prior to issuing a unit to an installation contractor for purposes of installing the unit for a disaster

victim. FEMA relied upon the vendor and manufacturer, and their expertise with construction

and manufacture of EHUs, to provide EHUs that were safe and habitable, and FEMA did not

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inspect or test units to determine whether or not they had hidden problems or defects such as

formaldehyde. Moreover, even if FEMA had wanted to inspect or test for formaldehyde the

representatives responsible for inspecting units had neither the expertise nor ability to conduct

such tests. To the extent the vendor or manufacture included any notice or documents with a

unit, including any materials relating to formaldehyde, any such .materials would have been

provided to the installation contractor to when they took possession of the unit from FEMA.

       5.      FEMA also maintained at various times between three (3) and five (5) Contract

Officer Technical Inspectors (TI) on site at the Gulf Stream Coach, Inc. (Gulf Stream),

manufacturing facility in Indiana. The primary responsibility of these TIs was to facilitate

transportation of trailers from the Gulf S~ream facility to the Gulf Coast region and to monitor

production schedule. In addition to these duties, the TIs also inspected approximately one out of

every five EHUs that came off the Gulf Stream production line. The TIs, consistent with

Standard Form 90-13, Temporary Housing Inspection Report, Inspection Report, conducted a

walk through inspection to ensure that the units contained contracted for amenities, i.e., basic

appliances, furniture, and that the had not been physically damaged during their production. In

the event that a unit was rejected, FEMA requested that the necessary repairs and/or

modifications be made prior to shipping the unit to a staging site. The TIs relied upon the vendor

and manufacturer and their expertise with construction and manufacture of EHUs, to ensure that

the units FEMA received were safe and habitable units and did not inspect, nor did they have the

ability to inspect, to determine whether or not the units had hidden problems.

       6.      Upon acceptance of a new EHU at a storage site, the unit remained at the storage

site until issued to an installation contractor for delivery to a disaster victim. Consistent with

Standard Form 90-13, Temporary Housing Inspection Report, Inspection Report, a walk through

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inspection Was conducted prior to issuing a unit to the installation contractor to document the

condition of the unit when it left FEMA’s possession, custody and control.

       7.     Upon a unit being vacated by a disaster victim, the unit was again inspected. This

inspection, consistent with Standard For 90-13, Temporary Housing Inspection Report,

Inspection Report, consisted of a walk through inspection to determine the condition of the mait

upon its return to FEMA.

       Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is tree

and correct. Executed on thiS l~-4"kday of


                                             STEPH~N C. MILLER
                                             Contract Officer Technical Representative
                                             Gulf Coast Recovery Office
                                             DHS / FEMA




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             DEPARTMENT OF HOMELAND SECURITY                                                   ,1. Temporary Housing Unit No.              2~ Serial No./Vin
          FEDERAL EMERGENCY MANAGEMENT AGENCY
  TEMPORItRY HOUSII~IG UNIT ItNSPIECTHON R~PORT
          3. TYPE OF INSPECTION       4. TYPE OF FACILITY                   APPLIANCES                                                                      6. UNIT INFO
                                                            Type    Manufact~rar      Model                                            Serial No. a. Manufacturer
Transport      Dispa!~ch    Receipi
                                                           Furnace
Sturage []                  []      [] Olher
                                                            Range                                                                                       b. Year
Staging []                   [] ’.  [] . Mobila Home      Microwave
                                                                                                                                                        o. Size (FL, -inc towing hitch)
~FO                                []            [] Travel Trailer            Refrigerator
Move In                            []                                             NC
                                                                                                                                                        d. Number of Bedrooms
Move Out                           []                                         Water Healer
7. INSPECTIONS                                     CONDITION OF FURNISHINGS, INTERIOR & EXTERIOR                                    Handicap
   [] Disaster                [] Storage          N = NEW G = GOOD P = POOR D = DAMAGED M = MISSING                                                       Yes        [] No
           FURNISHINGS                   STOI DIS I REC                FURNISHINGS               STO t DIS REC                       FURNISHINGS                  STOI DIS I REC
          Kitchen & Dining                  CondilJon                   Fimt Bedroom                 Condition                         Bathroom                       Condition
Dinette Table                                               Double Bed, Complete                                           Commode
Dinette ~hairs (6 for 3BR)                                  Mirror                                                         Tub/Shower
Range                                                       Cabinets Storage                                               Lavatu~y
Range Hood & Vent Fan                                       Curtains & Rods                                                Cosmetic (~abinei
Refrigerator                                                Ughl Fixtures                                                  Mirror
Curtains & Rods                                                       Second Bedroom                                       Curtains & Rods
Cabinets                                                    Double Bed, Complete                                           Ught Fixtures
Sink                                                        Mirror                                                                  Extedor Condition
Ught Fixtures                                               Cabinet Storage                                                Water Heater
Fire Exlingustar ’ ’                                        Durtains & Rod                                                  Doors
NC "         Uv]ng Room                                     Light Fixtures                                                 12 Key Per Door
Couch                                                                   Third Bedroom                                       Windows
Arm Chair .                                                 Double Bed, Complete                                            Screens
End Table ..                                                Mirror                                                           :ront Panels
Coffe Table                          ....                   Cab!net S~orage                                                 Left Side.Panels
Curtains & Rode                                             Curtains & Rod                                                   {ear Panels
Ught Fixtures                                               Light Fixtures                                                  Right Side Panels
                  Hall                                                    lntedo’r Condigon                                 Roof Vents
 :umace                                           Floor Coveting                                                            Towing Hitch
Smoke Detector                                    Wall Panels                                                               Axels & Springs
Ught Fixtures                                     Ceiling P.aneis                                                           WheMs & ~res
       9. MARK LOCATION OF EXTERIOR DAMAGE ON DIAGRAM BELOW:




                                       RIGHT SIDE                                  LEFT SIDE            ~ .....
 NOTE: Tail light hamess fumlshe~l by:            .~.J Towing Contractor                                                                     FRONT                           REAR
 10. COMMENTS (If more space is needed, concinue on reverse)



   11. READYFOR CONTRAGTW. O. No.                                      INSPECTORSIGNATURE                                                                       DATE
    OCCUPANCY
  1~ OCCUPANTNAME                                                      ADDRESS                                                                                  THA No.

13. REPRESENTATIVES ACKNOWLEDGEING CONDITIONS ABOVE:
                       NAME (Contractor)                  SIGNATURE AND DATE (Contractor)                                                 SIGNATURE AND DATE (FEMA Rap.)
Dispatch To/Form Storage
Receipt To/From Storage
Dispatch To/From Site
Occupant SIGNATURE (Move in or Out)                  DATE               FEMA REP. SIGNATURE                                                                               DATE

FEMA Form 90-13~ JUL 05
                                                                                                                                            FEMA09-O00073
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                                                   GENERAL INFORMATION
PURPOSE: The Temporary Housing Unit Inspection Report is utilized to docuinent the condition of the mobile home and contents during each
transection that occuars for tem~)orary housing.


                 TRANSACTION                       RESPONSIBILITY                              APPLICABLE ITEMS                                 DISTRIBUTION
1.Transport From Storage to DFO             a. Storage Dispatch Rep              a. 3 (Check Storage Dispatch) 1-2, 4-10, 13     a. Copy 3 - St£rage MH File
   a. Dispatch from Storage                 b. Staging Receiving Inspector       (Dispatch To/From Storage blocks)               b. Original, Copy I Staging File
   b. Receipt at DFO Staging                                                     b. 3 (Check Staging Receipt) 8-10, 13 (Receipts c. Copy 2- Towing Contractor
  (a. & b. Inspection done utilizing same                                        To/From Storage blocks).
  form)
2. Transport From Siaging to Site           a. Staging Conlrols                  a. Utilizing Original and Copy 1 from            a. Original - Staging Filel Copy 1 - Set
   a. Dispatch from Staging                 b. Installation Inspector            Tranasa.ction 1, Item 3 (Check Staging/Dispat(~h)up Contractor’s Transporter
   b. Receipt at Site{a. & b. Inspection                                         13 (Dispatch to Site Blocks)                      b. None
   done utilizing same fo~)                                                      b. Verify condition in items 8 & 9
3. RFO (Ready for Occupancy)                Installation Inspector                  (Check RFOi, 1, 7, 4, 10-12.                     Original, Copy 1 & 2, haiti by
                                                                                                                                     Inspectar~ machine copy for Computer
                                                                                                                                     entry.                   .
4. Move - in                                Installation Inspector               Utilizing Original and copies from Transaction 3,   Original - Occupant Files at JFO, Copy
                                                                                 Item 3 (Check Move- In) 2, 5, 6, 8-10, 12, 13       1- Occupan. Copy 2 - Computer entry.
                                                                                   Occupant Move In Blocks)

5. Move -: Out                              Installation Inspector               Utilizing Original and copies from Transaction 4, Original - Occupant Files at JFO,
                                                                                 as comparison: 3 (Check Move - Out), 1, 5, 6, 7, Copy 1- Occupant
                                                                                 B-10 I2, 13                                       Copy 2- Storage,
                                                                                 (Occupant Move Out Blocks)                        Copy 3 - Computer entry.
  Transport From Site to Staging            a. MHOPs Deactivation Inspector a. 3 (Check Site/Dispatch) 1, 5, 6; 7, 8-10. 13          a. Original - Copy 1 & 2 - Staging File
  a. Dispatch From Site                     b. Staging Inspector            (Dispatch From Site),                                    Copy 3 - Contractor’s Transporter.
  b. Receipt at Staging (’a. & b.                                           b. 3 *~(Check Site Receipt), 8-10.                       b. None
  Inspections done utilizing same form)
7. Transport From Staging to Storage         a. Staging Controls            Utilizing Odginal and copies from Tmnsaelion 6, item 3 a. Odginal - Copy 2 - Storage Rle
   a. Dispatch From Staging                 !b. Storage Receiving Inspector (Chock StaginglDispatch, 2, 6,10,13, (Dispaicch to     b. Original - Storage MH File
   b. Receipt from Storage                                                       Storage).                                            Copy 1 - Towing Conb’actor.
                                                                                 b. 3 (Cheek Storage/Receipt, 8-10, 13 (Receipl:to
                                                                                 Storage)

                                                                    INSTRUCTIONS
6. TEMPORARY HOUSING UNIT- Indicate the mobile home manufacturer, year Of manufacture, size (width and lengt~ -including
number of bedrooms.
7. INSPECTING - Indicate DFO or Storage which is conducting inspection.
8. CONDITION OF FURNISHINGS - Using the code indicated, mark condition. DIS column for Dispatch Inspection, REC column for Receipt Inspection.
9. MARK LOCATION OF EXTERIOR DAMAGE - Draw on the unit sketches of the location of any major exterior damage.
10. COMMENTS - Provide any additional information concerning problems, conditions or Iocaton of unit.
11. READY FOR OCCUPANCY CERTIFICATION - Inspector indicates Work Order Number from the FEMA Form 90-26, INSTALLATION WORK ORDER;
Signs and dates block. Incomplete items on set up may.be noted in item 10.
12. OCCUPANT NAME, ADDRESS, THA NUMBER - Indicate occupant, address of installation site and the registration number of the occupant.
ALL OTHER ITEMS ARE SELF-EXPLANTORY

COMMENTS:




                                                                                                                                     FEMA09-O00074
